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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                Chapter 11

JPA NO. 111 CO., LTD. and                             Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                      Jointly Administered

                       Debtors.1


          DECLARATION OF HEINRICH LOECHTEKEN IN SUPPORT OF
         ORDER (A) APPROVING THE PROPOSED SALE OF THE DEBTORS’
          ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, INTERESTS,
          AND ENCUMBRANCES; AND (B) GRANTING RELATED RELIEF

               I, Heinrich Loechteken, being duly sworn, hereby depose and state:

              1.       I am the CEO of JLPS Ireland Limited (“JLPSI”). JLPSI is

responsible for aircraft trading and management for the JPL group, including JPA No.

111 Co., Ltd. and JPA No 49 Co.., Ltd., the debtors and debtors in possession (the

“Debtors”) in the above-captioned cases (the “Chapter 11 Cases”). JP Lease Products &

Services Co. Ltd. (“JP Lease”) is the parent company of both JLPSI and the Debtors. On

January 26, 2022, I was appointed as director of each of the Debtors.

              2.       I make this Declaration in support of the relief requested in Part II

of the Debtors’ Application for Entry of Orders: (I)(A) Approving Bidding Procedures Relating

to the Sale of Substantially All of the Debtors’ Assets; (B) Establishing Stalking Horse Bidders

and Bid Protections; (C) Approving Procedures for the Assumption and Assignment of Certain

Executory Contracts and Unexpired Leases; (D) Authorizing Enforcement Actions;

(E) Scheduling an Auction and a Sale Hearing; and (F) Approving the Form and Manner of



1   The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is: Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.
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Notice Thereof; and (II)(A) Approving the Sale of the Purchased Assets Free and Clear of All

Liens, Claims, Interests, and Encumbrances; and (B) Granting Related Relief, filed on
                                                                2
December 31, 2021 [Docket No. 21] (the “Sale Motion”).

              3.       Except where specifically noted, the statements in this Declaration

are based on my personal knowledge, belief, or opinion; information that I have

received from the Debtors’ advisors and professionals; or from the records maintained

in the ordinary course of business of the Debtors and/or their affiliates.

              4.       I am not being compensated for providing this Declaration or

testimony. If I were called upon to testify, I could and would testify competently to the

facts set forth herein. I am authorized to submit this Declaration on behalf of the

Debtors.

                        Professional Background and Qualifications

              5.       I have held various executive positions in the fields of aviation and

corporate finance over the last thirty years. After working at Deutsche Bank for six

years, I served as Chief Credit Officer of DaimlerChrysler Financial and Chief Financial

Officer of DaimlerChrysler Capital for six years. During my time at DaimlerChrysler

Capital the company acquired a 900+ general aviation aircraft portfolio from the

Raytheon Company. I also spent six years as Chief Financial Officer and Chief

Investment Officer of AerCap, where I was responsible for all sales and purchases of

aircraft, investment in aircraft, joint ventures and securitization, accounting, finance and

treasury, and risk management. In 2010, I joined International Lease Finance

Corporation (ILFC) as Chief Investment Officer and was responsible for ILFC’s



2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in
    the Sale Motion.


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portfolio strategy, for aircraft investment, and for purchase and sale activities. From

2014 to 2017, I served as an executive advisor to Mitsubishi Group Companies, MCAP

and Vermillion, and I have been involved in the purchase and sale activities as well as

the investment activities of their various aircraft leasing portfolio companies.

             6.       I have been a director of several AerCap and ILFC subsidiaries. I

was the Chairman of the Board of Directors of AerVenture, a joint venture between

AerCap and a Kuwaiti investor, for 3 years. AerVenture over time took delivery of 70

new Airbus A320CEO family aircraft.

             7.       During my time at DaimlerChrysler Capital I was responsible for

the sale of about $5 billion in various financial assets including, commercial real estate

loans, blue and brown water commercial marine loans, pleasure marine loans,

helicopter operating and finance leases, general aviation loans and leases, private jet

loans and leases, commercial aircraft assets with leases attached. In my combined ten-

year role as Chief Investment Officer and Chief Financial Officer of AerCap and Chief

Investment Officer of ILFC, I managed teams that purchased aircraft from Original

Equipment Manufacturers (“OEMs”), airlines, and leasing companies. During that

timeframe I also managed teams that sold aircraft to airlines, leasing companies, and

financial investors. During the aforementioned timeframe, the total volume of purchase

(orders from OEMs, Sale and Leasebacks and purchases from leasing companies and

investors) and sale of aircraft that I was directly responsible for exceeds $25 billion. Both

AerCap and ILFC ordered large quantities of aircraft from the OEMs during my tenure

– namely 70 A320 family aircraft plus 30 A330 family aircraft at AerCap and 200

A320NEO family aircraft plus 100 Embraer E2 aircraft at ILFC. Under my direction,

AerCap and ILFC regularly purchased aircraft via sale and leaseback transactions from

airlines. Both companies also purchased aircraft on lease from other leasing companies

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and engaged in active selling of aircraft to leasing companies and financial investors.

For example, between 2006 and 2008 alone, my team at AerCap purchased 139 aircraft

and sold 110 aircraft. ILFC purchased its aircraft mainly through forward order

contracts with the OEM. During my time as Chief Investment Officer of ILFC I oversaw

the sale of 200 aircraft.

              8.       I was also responsible for the sale of debis AirFinance to Cerberus

Capital in 2005 and the subsequent IPO of AerCap (ex debis AirFinance) in a deal

valued at $2.8 billion, the acquisition of AeroTurbine in 2006 in a deal valued at $0.3

billion, the sale of a 50% equity interest in AerCap Partners 1 Holding Limited in 2006 in

a deal valued at $0.7 billion, and the acquisition of AeroTurbine into ILFC in 2011 in a

deal valued at $0.2 billion. As part of the ILFC management team I participated in the

sale of ILFC in a deal valued at $28.1 billion.

              9.       During my time at JP Lease, JP Lease has purchased 10 A350s and

has sold 9 A350s. In my role at JLPSI, I was responsible for and directly involved in the

purchase of 4 A350s and the sale of 3 A350s.

                                Sale and Marketing Efforts

             10.       I am personally involved in the Debtors’ sale process (the “Sale

Process”) and am leading the team (the “Sale Team”) responsible for marketing and

selling the Debtors’ assets in accordance with the Bankruptcy Court’s order approving,

among other things, the bidding and auction procedures [Docket No. 102] (the “Bidding

Procedures Order”). The Sale Team consists of myself and other individuals at JPLSI

with experience in the marketing and sale of aircraft and related assets as well as

negotiations with potential bidders.

             11.       Following the entry of the Bidding Procedures Order, I oversaw

what I believe was a fulsome and thorough marketing process for the Purchased Assets

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in accordance with the Bidding Procedures Order. Specifically, the Sale Team

(a) contacted a broad range of both strategic and financial investors that may have had

an interest in bidding for the Purchased Assets and (b) provided to potential bidders

who had signed a customary non-disclosure agreement (the “NDAs”) access to a data

room containing confidential information about the Purchased Assets, including key

diligence information relating to the operations and condition of the Aircraft, the

respective engines, and other ancillary equipment, and other miscellaneous matters. In

total, I or other individuals at JPLSI working at my direction contacted total of more

than 50 potential bidders. Approximately 24 potential bidders signed NDAs and

accessed the data room. The Sale Team engaged in extensive discussions with such

parties regarding the foregoing. There is a relatively small pool of buyers who

regularly participate in aircraft sales, and we were able to market the Purchased Assets

through the typical channels pursuant to which such buyers would consider these types

of assets.

             12.       I believe that the Debtors, through the Sale Team, conducted a

fulsome and thorough marketing process for the Purchased Assets in accordance with

the Bidding Procedures Order. In my view, the Sale Process was fair, open, and

competitive.

                                 The Sale Process Timeline

             13.       I believe that the timeline for the Sale Process was reasonable and

allowed for market-testing of the Purchased Assets. Throughout the Sale Process, the

Debtors encouraged bidders to participate in the Sale Process and Auction in an effort

to facilitate a competitive bidding atmosphere. However, I understand based on

conversations that I and other members of the Sale Team had with potential bidders,

that many potential bidders were deterred from participating in the sale process

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because of the aggressive and ongoing litigation efforts undertaken by FitzWalter

during the Chapter 11 Cases.

            14.       Following entry of the Bidding Procedures Order, the Sale Team

undertook extensive efforts (as described in more detail above) to identify and engage

with potential bidders about the formal process set forth in the Bidding Procedures. I

believe that from the time the Debtors began their sale efforts until the deadline for

submission of Qualified Bids under the Bidding Procedures Order, potential bidders

had sufficient time to formulate a bid, obtain diligence information, engage in

discussions with the Debtors and the Sale Team, and to submit a bid.

            15.       While there was substantial interest in the Purchased Assets certain

world events that occurred during the bidding period—chiefly, the escalation of conflict

in Ukraine—created substantial exposure and uncertainty in the Asian and European

markets for many of the potential bidders who were actively conducting diligence. Less

than two weeks prior to the bid deadline, on February 24, 2022, Russia began its

invasion of Ukraine, which continued and intensified through the bid deadline and

remains ongoing, with no end in sight.

            16.       The deadline for the submission of Qualified Bids under the

Bidding Procedures Order was March 7, 2022 at noon (ET) and the Auction was

scheduled for March 8, 2022 at 10:00 a.m. (ET). In total, the Debtors marketed the

Purchased Assets for 31 days from entry of the initial order approving the Bidding

Procedures on February 4, 2022 [Docket No. 101] (which was then amended by the

Bidding Procedures Order dated February 7, 2022) to the Bid Deadline on March 7,

2022. I believe that this duration was sufficient to maximize the value of the Purchased

Assets.



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            17.       Shortly before the 12:00 p.m. (ET) bid deadline on March 7, 2022,

the Debtors received one offer (the “Non-Qualified Bid”) in addition to the Stalking

Horse Bid. While the Non-Qualified Bid did not conform with many of the

requirements to be a “Qualified Bid” pursuant to the Bidding Procedures Order, such

offer provided a potentially attractive structure with improved economics compared to

that set forth in the Stalking Horse Bid.

            18.       Following receipt of the Non-Qualified Bid, the Debtors and their

professionals worked with the bidder to confirm certain aspects of the offer as well as

remedy the defects required to designate such offer as a “Qualified Bid.” In conjunction

with these discussions, the Debtors also engaged with the Stalking Horse Bidder to seek

to increase the value of the Stalking Horse Bid in light of the structure proposed by the

Non-Qualified Bid.

            19.       Ultimately, the Debtors reached an agreement with the Stalking

Horse Bidder to improve the terms of the Stalking Horse Bid (the “Revised Stalking

Horse Bid”) on the morning of March 8, 2022, prior to scheduled start time of the

Auction. Because the other bidder did not remedy the defects set forth in the Non-

Qualified Bid, in accordance with the Bidding Procedures Order, the Debtors cancelled

the Auction, selected the Revised Stalking Horse Bid as the highest and best bid, and

designated the Stalking Horse Bidder as the “Successful Bidder” (as defined by the

Bidding Procedures Order). See Notice of Cancellation of Auction and Designation of

Stalking Horse Bidder as Successful Bidder Pursuant to Revised Stalking Horse Bid [Docket

No. 149].

            20.       Following the selection of the Stalking Horse Bidder as the

Successful Bidder, the Debtors and its advisors continued to negotiate the form of

purchase agreement (the “Revised Stalking Horse Purchase Agreement”) for the Sale

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(the “Proposed Sale”) to affiliates of the Stalking Horse Bidder (the “Proposed

Purchasers”), the substantially final form of which is attached as Exhibit A to the Notice

of Filing of (I) Revised Stalking Horse Purchase Agreement and (II) Revised Proposed Sale

Order In Connection with the Debtors’ Proposed Sale, filed substantially

contemporaneously herewith (the “Sale Notice”). The Debtors intend to seek approval

of, and thereafter consummate the Proposed Sale with the Successful Bidder, subject to

the entry of the revised Sale Order, a copy of which is attached as Exhibit E to the Sale

Notice. A hearing to consider approval of the Sale is currently scheduled for March 14,

2022 (the “Sale Hearing”).

                           The Proposed Sale is Fair, Reasonable,
                       and In the Best Interests of the Debtors’ Estates

              21.       The Proposed Sale pursuant to the Revised Stalking Horse

Purchase Agreements represents a positive outcome for the Debtors. The Proposed Sale

provides for, among other things, payment in full of the Debt Facilities and a cash

payment to the Debtors’ estates of $5,000,000 (the “Cash Component”).

              22.       I understand that FitzWalter Capital Partners (Financial Trading)

Limited and its affiliates (“FitzWalter”) have asserted that additional amounts

constitute “Secured Obligations” under the Transaction Documents, which the Debtors

dispute.3 To the extent that any alleged Secured Obligations remain unresolved by the

Bankruptcy Court or disputed by the parties as of the Sale Hearing, I understand that



3   I understand the Intermediate Lessors have asserted ownership of the Lease Assets which the
    Debtors dispute. The Intermediate Lessors, which are incorporated under Irish law, were formed
    solely for the purpose of acting as an Irish intermediary between Vietnam Airlines (in Vietnam) and
    the Debtors (in Japan), and have no other business. There is currently no tax treaty in effect between
    the countries of Vietnam and Japan, while Ireland has standing tax treaty with both countries. The
    Intermediate Lessors were formed so that rent payments could be made from Vietnam Airlines to an
    Irish entity, which could then be passed to the Japanese Debtors without deducting any withholding
    taxes from the payments.


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the Debtors have requested that the Bankruptcy Court establish an escrow to be used to

satisfy such amounts that the Bankruptcy Court (or the parties) determine are valid

Secured Obligations. I understand that the Cash Component is anticipated to be

sufficient for the Debtors’ estates to pay all administrative expenses and unsecured

claims in the Chapter 11 Cases, with any remainder distributed to equity, pursuant to a

chapter 11 plan of liquidation to be submitted by the Debtors at a later date.

            23.       The Revised Stalking Horse Purchase Agreements represent an

unambiguously positive outcome for all parties, particularly the prepetition Lenders,

which are to be paid in full at the closing of the Proposed Sale. I believe the terms of the

Proposed Sale, which result from the extensive marketing process described above,

constitute a sound exercise of the Debtors’ business judgment and are fair, reasonable,

and in the best interests of the Debtors and their estates and should be approved.

                   The Proposed Purchasers Are Good Faith Purchasers

            24.       The Proposed Purchasers should be determined to be a good faith

purchaser within the meaning of section 363(m) of the Bankruptcy Code and should be

entitled to all of the protections afforded under section 363(m) of the Bankruptcy Code,

and any other applicable or similar bankruptcy and non-bankruptcy law.

                                        Conclusion

            25.       In conclusion, I believe that the terms of the Proposed Sale are fair,

reasonable, and market-tested. Debtors have determined, in the exercise of their

reasonable business judgment, that moving forward with the Proposed Sale would be

in the best interest of the Debtors and their estates and is the best way to maximize

value to all creditors and all other parties in interest. Thus, I believe that the Proposed

Sale should be approved.



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               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the

laws of the United States that the foregoing statements are true and correct to the best of

my knowledge.

Dated:    Shannon, Ireland
          March 11, 2022

                                          By: /s/ Heinrich Loechteken
                                          Name: Heinrich Loechteken
                                          Title: Director




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